         Case 1:14-vv-00338-UNJ Document 32 Filed 05/01/15 Page 1 of 13




    In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                         No. 14-338V
                                     Filed: April 13, 2015
                                      Not for Publication

*************************************
SAMANTHA JENNEY,                          *
                                          *
              Petitioner,                 *
                                          *                      Damages decision based on proffer;
v.                                        *                      tetanus-diphtheria-acellular
                                          *                      pertussis (Tdap) vaccine; shoulder
SECRETARY OF HEALTH                       *                      injury related to vaccine
AND HUMAN SERVICES,                       *                      administration (SIRVA)
                                          *
              Respondent.                 *
                                          *
*************************************
Ronald C. Homer, Boston, MA, for petitioner.
Claudia B. Gangi, Washington, DC, for respondent.

MILLMAN, Special Master

                              DECISION AWARDING DAMAGES1

        On April 23, 2014, petitioner filed a petition under the National Childhood Vaccine
Injury Act, 42 U.S.C. §§ 300aa-10–34 (2006), alleging that she suffered a shoulder injury as a
result of the tetanus-diphtheria-acellular pertussis (“Tdap”) vaccination she received on July 21,
2011. On July 18, 2014, respondent filed her Rule 4(c) Report, conceding that petitioner
suffered from a shoulder injury related to vaccine administration (“SIRVA”) and recommending
compensation.


1
  Because this decision contains a reasoned explanation for the special master's action in this case, the
special master intends to post this decision on the United States Court of Federal Claims's website, in
accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002). Vaccine Rule 18(b) states that all decisions of the special masters will be made available to the
public unless they contain trade secrets or commercial or financial information that is privileged and
confidential, or medical or similar information whose disclosure would constitute a clearly unwarranted
invasion of privacy. When such a decision is filed, petitioner has 14 days to identify and move to redact
such information prior to the document=s disclosure. If the special master, upon review, agrees that the
identified material fits within the banned categories listed above, the special master shall redact such
material from public access.
                                                    1
         Case 1:14-vv-00338-UNJ Document 32 Filed 05/01/15 Page 2 of 13



        On April 10, 2015, respondent filed Respondent’s Proffer on Award of Compensation.
The undersigned finds the terms of the proffer to be reasonable. Based on the record as a whole,
the undersigned finds that petitioner is entitled to the award as stated in the proffer. Pursuant to
the terms stated in the attached proffer, the court awards:

        a. a lump sum payment of $155,963.04, representing life care expenses for Year 1
           ($15,299.00), past unreimbursable expenses ($664.04), and pain and suffering
           ($140,000.00). The award shall be in the form of a check for $155,963.04 payable to
           petitioner;

        b. a lump sum payment of $1,076.77, representing compensation for satisfaction of the
           Boston Medical Center HealthNet Plan lien. The award shall be in the form of a
           check for $1,076.77 payable jointly to petitioner and

                        Boston Medical Center HealthNet Plan
                        Two Copley Place, Suite 600
                        Boston, MA 02116
                        ATTN: Kelvin Britto, OPL/TPL Specialist

            Petitioner agrees to endorse this payment to the Boston Medical Center HealthNet
            Plan;

        c. a lump sum payment of $8,516.49, representing compensation for satisfaction of the
           Neighborhood Health Plan lien. The award shall be in the form of a check for
           $8,516.49 payable jointly to petitioner and

                        Neighborhood Health Plan
                        253 Summer Street
                        Boston, MA 02210
                        ATTN: Angela Layne

            Petitioner agrees to endorse this payment to Neighborhood Health Plan; and

        d. an amount sufficient to purchase the annuity contract described in paragraph II.D of
           the attached proffer. The award shall be in the form of a check payable to the life
           insurance company from which the annuity will be purchased.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith.2




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
        Case 1:14-vv-00338-UNJ Document 32 Filed 05/01/15 Page 3 of 13



IT IS SO ORDERED.


Dated: April 13, 2015                                  /s/ Laura D. Millman
                                                         Laura D. Millman
                                                           Special Master




                                      3
         Case 1:14-vv-00338-UNJ Document 32 Filed 05/01/15 Page 4 of 13



                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

_________________________________________
                                                      )
SAMANTHA JENNEY,                                      )
                                                      )
                       Petitioner,                    )
                                                      )      No. 14-338V
v.                                                    )      Special Master Millman
                                                      )      ECF
SECRETARY OF HEALTH AND                               )
HUMAN SERVICES,                                       )
                                                      )
                       Respondent.                    )
                                                      )

                        RESPONDENT'S PROFFER ON DAMAGES

       Respondent submits the following recommendations regarding items of compensation to

be awarded to petitioner under the Vaccine Act.

I.     Items of Compensation

       A.      Life Care Items

       Respondent engaged life care planner Linda Curtis, RN, MS, CCM, CNLCP, and

petitioner engaged Maureen Clancy, RN, BSN, CLCP, to provide an estimation of Samantha

Jenney’s future vaccine-injury related needs. All items identified in the agreed life care plan

dated March 16, 2013, are supported by the evidence and are illustrated by the chart entitled Tab

A: Summary of Life Care Items. 1 Respondent proffers Samantha Jenney (“petitioner”) should

be awarded all items of compensation that are set forth in the agreed life care plan and illustrated

by the chart attached as Tab A. Petitioner agrees. Respondent further proffers that the


1
  The chart at Tab A illustrates the annual benefits as contained in the life care plan. The annual
benefit years run from the date of judgment up to the first anniversary of the date of judgment
and every year thereafter up to the anniversary of the date of judgment.
                                                  1
           Case 1:14-vv-00338-UNJ Document 32 Filed 05/01/15 Page 5 of 13



appropriate growth rate for life care items of compensation should be four percent (4.0%) for

non-medical items and six percent (6.0%) for medical items, compounded annually from the date

of judgment, as set forth in Tab B: Annuity Funding Portfolio. Petitioner agrees.

          B.     Lost Earnings

          The parties agree that based upon the evidence of record, Samantha Jenney will be able to

engage in gainful employment. Therefore, respondent proffers that Samantha Jenney is not

entitled to receive future lost earnings compensation provided for under the Vaccine Act, 42

U.S.C. §300aa-15(a)(3)(A). Petitioner agrees.

          C.     Pain and Suffering

          Respondent proffers that petitioner should be awarded $140,000.00 in actual and

projected pain and suffering. This amount reflects that the award for projected pain and

suffering has been reduced to net present value. See 42 U.S.C. § 300aa-15(a)(4). Petitioner

agrees.

          D.     Past Unreimbursed Expenses

          Evidence supplied by petitioner documents her expenditure of past un-reimbursable

expenses related to her vaccine-related injury. Respondent proffers that the petitioner is entitled

to past un-reimbursed expenses in the amount of $664.04. Petitioner agrees.

          E.     Medicaid Lien

           Respondent proffers that Samantha Jenney should be awarded funds to satisfy the

 Boston Medical Center HealthNet Plan lien in the amount of $1,076.77, and the Neighborhood

 Health Plan lien in the amount of $8,516.49, which represents full satisfaction of any right of

 subrogation, assignment, claim, lien, or cause of action the Boston Medical Center HealthNet

                                                  2
            Case 1:14-vv-00338-UNJ Document 32 Filed 05/01/15 Page 6 of 13



    Plan and/or the Neighborhood Health Plan may have against any individual as a result of any

    Medicaid payments the Boston Medical Center HealthNet Plan and/or the Neighborhood Health

    Plan has made to or on behalf of Samantha Jenney from the date of her eligibility for benefits

    through the date of judgment in this case as a result of her vaccine-related injury suffered on or

    about July 21, 2011, under Title XIX of the Social Security Act.

          F.      Attorney’s Fees and Costs

          This proffer does not address final attorneys’ fees and costs. Petitioner is entitled to

reasonable attorneys’ fees and costs, to be determined at a later date upon petitioner filing

substantiating documentation.

          II.     Form of the Award

          The parties recommend that the compensation provided to petitioner for her future

medical care needs should be made through a combination of a one-time cash payment and

future annuity payments as described below, and request that the special master’s decision and

the Court’s judgment reflect the following items of compensation. 2

          Respondent proffers and petitioner agrees that an award of compensation include the

following elements:

          A.      A lump sum payment of $155,963.04, representing life care expenses for Year 1

($15,299.00), past un-reimbursed expenses ($664.04), and pain and suffering ($140,000.00), in

the form of a check payable to petitioner.




2
  Should petitioner die prior to entry of judgment, respondent would oppose any award for
future medical expenses, future lost earnings, and future pain and suffering, and the parties
reserve the right to move the Court for appropriate relief.

                                                    3
         Case 1:14-vv-00338-UNJ Document 32 Filed 05/01/15 Page 7 of 13



       B.      A lump sum payment of $1,076.77, representing compensation for satisfaction of

the Boston Medical Center HealthNet Plan lien, payable jointly to petitioner and

                            Boston Medical Center HealthNet Plan
                                Two Copley Place, Suite 600
                                    Boston, MA 02116
                           ATTN: Kelvin Britto, OPL/TPL Specialist

       Petitioner agrees to endorse this payment to the Boston Medical Center HealthNet Plan.

       C.      A lump sum payment of $8,516.49, representing compensation for satisfaction of

the Neighborhood Health Plan lien, payable jointly to petitioner and

                                    Neighborhood Health Plan
                                       253 Summer Street
                                       Boston, MA 02210
                                     ATTN: Angela Layne

       Petitioner agrees to endorse this payment to the Neighborhood Health Plan.

       D.      An amount sufficient to purchase an annuity contract, 3 subject to the conditions

described below, that will provide payments for the life care items contained in the life care plan,

as illustrated by the chart at Tab A, attached hereto, and paid to the life insurance company 4 from

3
 In respondent’s discretion, respondent may purchase one or more annuity contracts from one or
more life insurance companies.
4
  The Life Insurance Company must have a minimum of $250,000,000 capital and surplus,
exclusive of any mandatory security valuation reserve. The Life Insurance Company must have
one of the following ratings from two of the following rating organizations:

               a. A.M. Best Company: A++, A+, A+g, A+p, A+r, or A+s;

               b. Moody's Investor Service Claims Paying Rating: Aa3, Aa2, Aa1, or Aaa;

               c. Standard and Poor’s Corporation Insurer Claims-Paying Ability Rating: AA-,
               AA, AA+, or AAA;

               d. Fitch Credit Rating Company, Insurance Company Claims Paying Ability
               Rating: AA-, AA, AA+, or AAA.
                                                 4
         Case 1:14-vv-00338-UNJ Document 32 Filed 05/01/15 Page 8 of 13



which the annuity will be purchased. 5 Compensation for Year Two (beginning on the first

anniversary of the date of judgment) and all subsequent payments shall be provided through

respondent’s purchase of an annuity, which annuity will make payments directly to the petitioner

only so long as she is alive at the time a particular payment is due. The “annual amounts” set

forth in Tab B describe the total year sum to be paid and do not require that the payment be made

in one single payment.

        The parties agree that petitioner is a competent adult and that no guardians/conservators

of his estate will be required.

                1.      Growth Rates

        Respondent proffers that a four percent (4.0%) growth rate should be applied to all non-

medical items, and a six percent (6.0%) growth rate should be applied to all medical items.

Petitioner agrees.

                2.      Life-contingent Annuity

        Petitioner will continue to receive the annuity payments for future medical care from the

Life Insurance Company only so long as she is alive at the time that a particular payment is due.

Written notice to the Secretary of Health and Human Services and the Life Insurance Company

shall be made within twenty (20) days of petitioner’s death.

        III.    Summary of Recommended Payments Following Judgment

                A.      Lump Sum paid to petitioner:           $155,963.04

                B.      Lump Sum paid jointly to petitioner and Boston Medical Center HealthNet

                Plan:                                          $1,076.77

5
  Petitioner authorizes the disclosure of certain documents filed by the petitioner in this case
consistent with the Privacy Act and the routine uses described in the National Vaccine Injury
Compensation Program System of Records, No.09-15-0056.
                                                  5
        Case 1:14-vv-00338-UNJ Document 32 Filed 05/01/15 Page 9 of 13



             C.      Lump Sum paid jointly to petitioner and Neighborhood Health Plan:

                                                         $8,516.49

             D.      An amount sufficient to purchase the annuity contract described above in

             section II. D.

                                                  Respectfully submitted,

                                                  BENJAMIN C. MIZER
                                                  Acting Assistant Attorney General

                                                  RUPA BHATTACHARYYA
                                                  Director
                                                  Torts Branch, Civil Division

                                                  VINCENT J. MATANOSKI
                                                  Deputy Director
                                                  Torts Branch, Civil Division

                                                  MICHAEL P. MILMOE
                                                  Senior Trial Counsel
                                                  Torts Branch, Civil Division


                                                  /s/ Claudia B. Gangi
                                                  CLAUDIA B. GANGI
                                                  Senior Trial Attorney
                                                  Torts Branch, Civil Division
                                                  U.S. Department of Justice
                                                  P.O. Box 146
                                                  Benjamin Franklin Station
                                                  Washington, D.C. 20044-0146
                                                  Tel.: (202) 616-4138



Dated: April 10, 2015




                                              6
                                       Case 1:14-vv-00338-UNJ Document 32 Filed 05/01/15 Page 10 of 13                                                      TAB A



       Pet. Samantha Jenney
       D.O.B. 05/24/1969

              DATE:      03/20/15
              TIME:     11:20 PM

       SUMMARY OF LIFE CARE ITEMS - AGREED LIFE CARE PLAN dated March 16, 2015

ITEM OF CARE           Insurance     Medical   Ancillary   Equipment    Medications     Home     Transportation      TOTALS         TOTALS              TOTALS OF
                                       Care     Services                              Services                        of Items       of Items   4.0 and 6.0% ITEMS
                                                                                                                   with a 6.0%    with a 4.0%          & APPLYING
                                                                                                                  Growth Rate    Growth Rate         THE GROWTH
GROWTH RATE                   6.0%     6.0%        6.0%         6.0%          6.0%       4.0%             4.0%                                               RATES

AGE           YEAR

  46            2015     7,113.08     523.40      785.00       768.08        540.00   4,007.49           480.87          9,730          4,488               14,981
  47            2016     7,113.08     348.40      460.00       202.39        540.00   3,878.50            68.31          8,664          3,947               14,004
  48            2017     7,113.08     348.40      460.00       202.39        540.00   3,878.50            68.31          8,664          3,947               14,758
  49            2018     7,113.08     348.40      460.00       202.39        540.00   3,878.50            68.31          8,664          3,947               15,555
  50            2019    10,463.08       0.00      390.00       199.25          0.00   3,878.50            76.33         11,052          3,955               19,602
  51            2020     7,113.08     104.80       70.00       202.39        540.00   3,878.50            65.18          8,030          3,944               16,381
  52            2021     7,113.08     104.80       70.00       202.39        540.00   3,878.50            65.18          8,030          3,944               17,264
  53            2022     7,113.08     104.80       70.00       202.39        540.00   3,878.50            65.18          8,030          3,944               18,196
  54            2023     7,113.08     104.80       70.00       202.39        540.00   3,878.50            65.18          8,030          3,944               19,180
  55            2024     7,113.08     414.80      255.00       202.39        540.00   3,878.50            97.71          8,525          3,976               21,153
  56            2025         0.00     428.30      434.80       214.98        928.56   3,878.50            65.18          2,007          3,944                9,880
  57            2026         0.00     428.30      434.80       214.98        928.56   3,878.50            65.18          2,007          3,944               10,352
  58            2027         0.00     428.30      434.80       214.98        928.56   3,878.50            65.18          2,007          3,944               10,847
  59            2028         0.00     428.30      434.80       214.98        928.56   3,878.50            65.18          2,007          3,944               11,366
  60            2029         0.00     428.30      434.80       214.98        928.56   3,878.50            65.18          2,007          3,944               11,911
  61            2030         0.00     428.30      434.80       214.98        928.56   3,878.50            65.18          2,007          3,944               12,484
  62            2031         0.00     428.30      434.80       214.98        928.56   3,878.50            65.18          2,007          3,944               13,085
  63            2032         0.00     428.30      434.80       214.98        928.56   3,878.50            65.18          2,007          3,944               13,717
  64            2033         0.00     428.30      434.80       214.98        928.56   3,878.50            65.18          2,007          3,944               14,380




                                                                                                                                                           PAGE 1
                                            Case 1:14-vv-00338-UNJ Document 32 Filed 05/01/15 Page 11 of 13                                                            TAB A



        Pet. Samantha Jenney
        D.O.B. 05/24/1969

               DATE:      03/20/15
               TIME:     11:20 PM

        SUMMARY OF LIFE CARE ITEMS - AGREED LIFE CARE PLAN dated March 16, 2015

ITEM OF CARE            Insurance         Medical     Ancillary    Equipment     Medications     Home     Transportation      TOTALS         TOTALS              TOTALS OF
                                            Care       Services                                Services                        of Items       of Items   4.0 and 6.0% ITEMS
                                                                                                                            with a 6.0%    with a 4.0%          & APPLYING
                                                                                                                           Growth Rate    Growth Rate         THE GROWTH
GROWTH RATE                    6.0%          6.0%          6.0%          6.0%          6.0%       4.0%             4.0%                                               RATES

 AGE           YEAR

   65            2034       920.16           85.66        290.00        307.01          0.00   3,761.50            49.09          1,603          3,811                 13,490
   66            2035       920.16           85.66        290.00        163.13          0.00   3,761.50            49.09          1,459          3,811                 13,643
   67            2036       920.16           85.66        290.00        163.13          0.00   3,761.50            49.09          1,459          3,811                 14,288
   68            2037       920.16           85.66        290.00        163.13          0.00   3,761.50            49.09          1,459          3,811                 14,965
   69            2038       920.16           85.66        290.00        163.13          0.00   3,761.50            49.09          1,459          3,811                 15,675
   70            2039       920.16           85.66        290.00        163.13          0.00   3,761.50            49.09          1,459          3,811                 16,420
   71            2040       920.16           85.66        290.00        163.13          0.00   3,549.00            49.09          1,459          3,598                 16,613
   72            2041       920.16           85.66        290.00        163.13          0.00   3,549.00            49.09          1,459          3,598                 17,410
   73            2042       920.16           85.66        290.00        163.13          0.00   3,549.00            49.09          1,459          3,598                 18,247
   74            2043       920.16           85.66        290.00        163.13          0.00   3,549.00            49.09          1,459          3,598                 19,126
   75            2044       920.16           85.66        290.00        163.13          0.00   3,549.00            49.09          1,459          3,598                 20,049
   76            2045       920.16           85.66        290.00        163.13          0.00   3,549.00            49.09          1,459          3,598                 21,019
   77            2046       920.16           85.66        290.00        163.13          0.00   3,549.00            49.09          1,459          3,598                 22,037
   78            2047       920.16           85.66        290.00        163.13          0.00   3,549.00            49.09          1,459          3,598                 23,107
   79            2048       920.16           85.66        290.00        163.13          0.00   3,549.00            49.09          1,459          3,598                 24,231
   80            2049       920.16           85.66        290.00        163.13          0.00   3,549.00            49.09          1,459          3,598                 25,412
   81            2050       920.16           85.66        290.00        163.13          0.00   3,549.00            49.09          1,459          3,598                 26,653

                            90,124           7,714        11,933         7,438        13,217    135,428            2,542        130,426        137,970                601,484

                           33.58%           2 87%         4.45%         2.77%         4.92%     50.46%            0.95%                                               100.00%

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                                                                                                                                                                      PAGE 2
                                      Case 1:14-vv-00338-UNJ Document 32 Filed 05/01/15 Page 12 of 13                                                   TAB   B




                                               ANNUITY               FUNDING PORTFOLIO
                                                       AGREED LIFE CARE PLAN dated March 16, 2015

                                                                 4.0 and 6.0% GROWTH RATES

              DATE:       03/20/15
              TIME:       11:20 PM


Pet. Samantha Jenney
D.O.B. 05/24/1969         Column 1        Column 2   Column 3      Column 4     Column 5    Column 6    Column 7    Column 8    Column 9   Column 10    Column 11

Settlement Item             TOTAL         ANNUAL      CASH &      ANNUITY      ANNUITY     ANNUITY     ANNUITY     ANNUITY     ANNUITY     ANNUALCUMULATIVE
Starting Amount          MEDICAL      STRUCTURED     ANNUITY          1,640        7,999       1,040       3,891         374         328    SAFETY   SAFETY
Inflation Factor       CARE NEEDS     SETTLEMENT       LUMP          6.00%        6.00%       6.00%       4.00%       4.00%       4.00%    MARGIN   MARGIN
Beginning Year                2015       BENEFITS      SUMS            2016         2016        2025        2016        2016        2034       2015     2015
Ending Year                   2050                                    LIFE          2023        2033       LIFE         2033        2039       2050     2050

                            TOTAL             S/S   Cash &          Deferred    Deferred    Deferred    Deferred    Deferred    Deferred      Safety    Cum.Safety
 AGE          YEAR          NEEDS          TOTAL Lump Sums          Annuity     Annuity     Annuity     Annuity     Annuity     Annuity      Margin        Margin

   46          2015          14,981         15,299      15,299                                                                                    318           318
   47          2016          14,004         13,904                     1,640       7,999                   3,891         374                     -100           218
   48          2017          14,758         14,653                     1,738       8,479                   4,047         389                     -105           113
   49          2018          15,555         15,443                     1,843       8,988                   4,209         405                     -112             1
   50          2019          19,602         19,601       3,323         1,953       9,527                   4,377         421                       -1             0
   51          2020          16,381         17,158                     2,070      10,099                   4,552         438                      777           777
   52          2021          17,264         18,088                     2,195      10,704                   4,734         455                      824         1,601
   53          2022          18,196         19,070                     2,326      11,347                   4,923         473                      873         2,474
   54          2023          19,180         20,106                     2,466      12,028                   5,120         492                      926         3,400
   55          2024          21,153         17,757       9,306         2,614                               5,325         512                   -3,396             4
   56          2025           9,880          9,881                     2,771                   1,040       5,538         532                        1             5
   57          2026          10,352         10,353                     2,937                   1,102       5,760         554                        1             6
   58          2027          10,847         10,848                     3,113                   1,169       5,990         576                        1             7
   59          2028          11,366         11,367                     3,300                   1,239       6,230         599                        1             8
   60          2029          11,911         11,913                     3,498                   1,313       6,479         623                        1             9
   61          2030          12,484         12,485                     3,708                   1,392       6,738         648                        1            10
   62          2031          13,085         13,087                     3,930                   1,475       7,007         674                        1            11
   63          2032          13,717         13,718                     4,166                   1,564       7,288         700                        1            13
   64          2033          14,380         14,382                     4,416                   1,658       7,579         729                        2            14




                                                                                                                                                        PAGE 3
                                              Case 1:14-vv-00338-UNJ Document 32 Filed 05/01/15 Page 13 of 13                                                             TAB    B




                                                          ANNUITY                    FUNDING PORTFOLIO
                                                                   AGREED LIFE CARE PLAN dated March 16, 2015

                                                                             4.0 and 6.0% GROWTH RATES

              DATE:            03/20/15
              TIME:            11:20 PM


Pet. Samantha Jenney
D.O.B. 05/24/1969              Column 1            Column 2     Column 3       Column 4         Column 5    Column 6    Column 7     Column 8    Column 9    Column 10     Column 11

Settlement Item                TOTAL             ANNUAL          CASH &       ANNUITY          ANNUITY     ANNUITY     ANNUITY      ANNUITY     ANNUITY      ANNUALCUMULATIVE
Starting Amount             MEDICAL          STRUCTURED         ANNUITY           1,640            7,999       1,040       3,891          374         328     SAFETY   SAFETY
Inflation Factor          CARE NEEDS         SETTLEMENT           LUMP           6.00%            6.00%       6.00%       4.00%        4.00%       4.00%     MARGIN   MARGIN
Beginning Year                   2015           BENEFITS          SUMS             2016             2016        2025        2016         2016        2034        2015     2015
Ending Year                      2050                                             LIFE              2023        2033       LIFE          2033        2039        2050     2050

                                 TOTAL                  S/S   Cash &            Deferred        Deferred    Deferred    Deferred     Deferred    Deferred        Safety   Cum.Safety
 AGE           YEAR              NEEDS               TOTAL Lump Sums            Annuity         Annuity     Annuity     Annuity      Annuity     Annuity        Margin       Margin

   65           2034               13,490              14,251        1,359             4,681                                7,882                     328           761           775
   66           2035               13,643              13,501                          4,962                                8,198                     341          -142           633
   67           2036               14,288              14,140                          5,260                                8,526                     355          -148           485
   68           2037               14,965              14,811                          5,575                                8,867                     369          -154           331
   69           2038               15,675              15,515                          5,910                                9,221                     384          -160           171
   70           2039               16,420              16,254                          6,264                                9,590                     399          -166             4
   71           2040               16,613              16,614                          6,640                                9,974                                     1             5
   72           2041               17,410              17,411                          7,039                               10,373                                     1             7
   73           2042               18,247              18,249                          7,461                               10,788                                     1             8
   74           2043               19,126              19,128                          7,909                               11,219                                     2            10
   75           2044               20,049              20,051                          8,383                               11,668                                     2            11
   76           2045               21,019              21,021                          8,886                               12,135                                     2            13
   77           2046               22,037              22,039                          9,419                               12,620                                     2            15
   78           2047               23,107              23,109                          9,984                               13,125                                     2            17
   79           2048               24,231              24,233                         10,584                               13,650                                     2            19
   80           2049               25,412              25,414                         11,219                               14,196                                     2            22
   81           2050               26,653              26,655                         11,892                               14,764                                     3            25

ITEMIZED TOTALS                   601,484             601,509       29,287           182,753      79,170      11,951      286,581       9,591       2,176            25              25


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